Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 1 of 15

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
JOE SHIELDS CIVIL ACTION No.
Plaintiff

VS.

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SEARS, ROEBUCK AND COMPANY, ) COMPLAINT FOR CIVIL DAMAGES

HOME IMPROVEMENT LEADS INC., ) AND PERMANENT INJUNCTIVE

DIRECT ENERGY US HOME SERVICES ) RELIEF

INC. D/B/A HALLMARK ONE HOUR )

AIR CONDITIONING & HEATING AND )

AIR SPECIALIST HEATING AND AIR )

CONDITIONING COMPANY INC. )

)
Defendants ) JURY TRIAL REQUESTED

ORIGINAL COMPLAINT

l. Plaintiff Joe Shields brings this action under the Telephone
Consumer Protection Act (hereinafter TCPA), 47 U.S.C. §227,
(1991) and the Code of Federal Regulations (hereinafter CFR)
implementing the TCPA, 47 CFR §64.1200 to obtain statutory
civil damages, treble damages, permanent injunctive relief and

all other equitable relief the Plaintiff is entitled to.

JURISDICTION AND VENUE

 

2. This Court has subject matter jurisdiction over this action

pursuant to 47 U.S.C. §227(b)(3) and 28 USC §1357. Federal

l Of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

 

Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 2 of 15

Courts have federal question jurisdiction, 28 USC §1331,
because this case is about. a cause of action created by a
federal statute namely 47 U.S.C. §227(b)(3). Federal Courts
have federal jurisdiction, 28 USC §1357, because this case is
about an injury to a person under an Act of Congress namely 47
U.S.C. §227.
Venue is proper in this District under 28 USC §l391(b)(2)
because all or a substantial part of the events or omissions
giving rise to the stated claim(s) occurred in Harris County,
Texas.

PLANTIFF
Plaintiff is an individual residing in Harris County, Texas.
Plaintiff is a cellular telephone subscriber and has had his
current cellular telephone numbers since May of 2006. Prior to
the events complained about Plaintiff had not initiated or
requested any contact of any kind with the Defendants.
Plaintiff never provided prior express consent to either
Defendant or anyone acting in concert with the Defendants for
automatically dialed calls to be made to Plaintiff’s cellular
telephone number. Further, Plaintiff’s cellular telephone
number has been listed on the State and Eederal do-not-call
list since the inception of such list or upon being assigned
any cellular telephone number.

DEFENDANTS

2 Of 15
COMPLAINT I:"OR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 3 of 15

Sears, Roebuck And Company (Hereinafter “Sears”) is an Illinois
corporation registered in Texas to conduct business under Texas
laws. The Defendant may be served by serving any employee of
Defendant’s TeXas registered, agent CT Corporation. Systenl via
certified mail return receipt requested at 350 North Saint Paul
Street, Suite 2900, Dallas Texas 75201-4234.

Defendant Home Improvement Leads Inc. (hereinafter “HIL”) is a
Delaware corporation registered ill TeXas ix) conduct business
under Texas laws. The Defendant may be served by serving any
employee of Defendant’s Texas registered agent CT Corporation
System via certified mail return receipt requested at 350 North
Saint Paul Street, Suite 2900, Dallas TeXas 75201-4234.
Defendant Direct Energy US Home Services Inc. d/b/a Hallmark
One Hour Air Conditioning & Heating (hereinafter “Direct
Energy”) is a Texas corporation registered in Texas to conduct
business under Texas laws. The Defendant may be served by
serving any employee of Defendant’s Texas registered agent CT
Corporation System via certified mail return receipt requested
at 350 North Saint Paul Street, Suite 2900, Dallas Texas 75201~
4234.

Defendant Air Specialist Heating & ZUJ: Conditioning' Company
lnc. (hereinafter “Air Specialist”) is a Texas corporation
registered in Texas to conduct business under Texas laws. The

Defendant may be served by serving any employee of Defendant’s

3 Of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

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Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 4 of 15

Texas registered agent CT Corporation System via certified mail
return receipt requested at 350 North Saint Paul Street, Suite
2900, Dallas Texas 75201-4234.

DEFENDANT SEARS’ BUSINESS PRACTICES

 

The Defendant Sears acted in concert with Defendant HIL to
promote air conditioning service to the Plaintiff via an
automatically dialed call to Plaintiff’s cellular telephone
number. Defendant HIL is a lead generator. Defendant Sears
purchases leads from Defendant HlL.

On or about August 8th

, 2013 at approximately 8:06 a.m.
Plaintiff’s cellular telephone number rang. Plaintiff answered
the call and was met with approximately 6 seconds of silence
before the call was terminated. by the caller. According' to
caller identification. the call originated from. 800-749-7499.
That number belongs to Defendant Sears.

Defendant Sears uses an automatic dialing device commonly
referred to as a predictive dialer that places calls according
to call agent availability. When a call is connected and no
call agent is available the call is disconnected. Because no
call agent of the Defendant was available Defendant’s automatic
dialing device disconnected the automatically dialed call to
Plaintiff’s cellular telephone number.

Plaintiff called the 800-749~7499 number that had been

transmitted in the caller identification stream. Plaintiff

4 Of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

14.

15.

Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 5 of 15

reached the call center of the Defendant Sears. During that
call Defendant’s employees at that call center admitted that
Defendant Sears had initiated the call to Plaintiff’s cellular
telephone number. Defendant Sears employees also admitted that
the call was made for the purpose of soliciting air
conditioning service.

On or about August l6m, 2013 Plaintiff received a call from an
employee Of Defendant Sears in response to Plaintiff’s Cease
and Desist letter to Defendant Sears. During that call
Defendant Sears employee stated that Defendant Sears had placed
Plaintiff cellular telephone number on Defendant Sears’ do not
promote list whatever that is. Defendant Sears employee did not
even offer an apology to the Plaintiff for the illegal call to
his cellular number.

Defendant Sears was asked. to produce any evidence of prior
express consent of the called party. Defendant Sears has not
produced any such evidence. The true facts of the matter are
that Defendant Sears purchased a lead from Defendant HIL and
without any prior express consent of the called party as
required by the TCPA initiated an automatically dialed
telephone call to Plaintiff’s cellular telephone number.
Defendant Sears automatically dialed call was a violation of
the TCPA.

DEFENDANT HIL'S BUSINESS PRACTICES

 

5 Of 15
COMPLAINT E`OR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

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Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 6 of 15

The Defendant HIL acted, in concert with~ Defendant Sears to
promote air conditioning service to the Plaintiff via an
automatically dialed call(s) to Plaintiff’s cellular telephone
number. Defendant HIL is a lead generator. In the course of
conducting the day to day' operations of HIL’s business HIL
initiated several automatically dialed. calls to Plaintiff’s
cellular telephone number without Plaintiff’s prior express
consent.

On or about August 14UH 2013 at approximately 11:51 a.m.
Plaintiff’s cellular telephone number rang. Plaintiff answered
the ca11 and was told that the call was in regard to heating
and air conditioning service. The caller other than providing
the caller’s name and an email address refused to provide the
identity of the entity on whose behalf the call had been made.
Plaintiff called the caller identification number 281-607-9027
and was told that he had reached the Defendant HIL. The caller
asked why Plaintiff was calling and then immediately
disconnected the call. This pattern of hanging up on the
Plaintiff was repeated by employees of the Defendant HIL.
Nevertheless, Plaintiff was able to determine that the
Defendant HIL was the entity that had. initiated. the
automatically dialed call to Plaintiff’s cellular telephone
number. As with the automatically dialed call of the Defendant

Sears there was never any consent from. the Plaintiff for

6 Of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

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Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 7 of 15

Defendant HIL to make an automatically dialed call to
Plaintiff’s cellular telephone number.

Despite repeated demands during the call(s) and by mail with
delivery confirmation to the president of the company received
on August SUH 2013 that HIL stop initiating automatically
dialed calls to xny cellular telephone number Defendant Hill
initiated. yet another illegal automatically dialed call to
Plaintiff’s cellular telephone number on August 19&, 2013 at
approximately 8:22 a.nh As with. the previous caller(s) this
particular caller also readily admitted the call was made by an
automatic dialing device owned and operated by the Defendant
HIL.

DEFENDANT DIRECT ENERGY BUSINESS PRACTICES

 

The Defendant Direct Energy acted in concert with Defendant HIL
to promote air conditioning service to the Plaintiff via an
automatically dialed call(s) to Plaintiff’s cellular telephone
number. Defendant Direct Energy purchases leads from Defendant
HIL.

On or about August 1051 2013 at approximately 11:38 a.m.
Plaintiff’s cellular telephone number rang. Plaintiff answered
the call and was told that the call was in regard to heating
and air conditioning service. The caller refused to provide the

proper name of the business the caller worked for. Further, the

7 of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

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Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 8 of 15

caller hung up on the Plaintiff when Plaintiff requested that
the caller properly identify themselves.

Plaintiff called the caller identification number 713-690-990
and was told that he had reached the Defendant Direct Energy.
During' the call Plaintiff asked. that the calls to his cell
number cease. Plaintiff was told by the Defendant Direct Energy
employee that “ you do not have an account with us ...... to resolve
this . mcall your telephone company and let them know they
cannot call you ...... call your telephone company and tell them you
don’t want any calls from. us.” The Defendant Direct Energy
employee abjectly' refused. to take any action. on Plaintiff’s
request to stop the illegal automatically dialed calls to his
cellular telephone number made by the Defendant Direct Energy.

DEFENDANT AIR SPECIALIST BUSINESS PRACTICES

 

The Defendant Air Specialist acted in concert with Defendant
HIL to promote air conditioning service to the Plaintiff via an
automatically dialed call(s) to Plaintiff’s cellular telephone
number. Defendant Direct Energy purchases leads from Defendant
HIL.

On or about August 10d§ 2013 at approximately 09:01 a.m.
Plaintiff’s cellular telephone number rang. Plaintiff answered
the call and was told that the call was from an employee of the
Defendant Air Specialist in regard to heating and air

conditioning service. The Defendant Air Specialist employee

8 Of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

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Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 9 of 15

readily admitted that Defendant Air Specialist did not have any
do not call list. Further, Plaintiff directed the caller to
contact Defendant HIL to tell Defendant HIL to stop causing the
illegal automated calls to Plaintiff’s cellular telephone
number at which point the caller hung up on the Plaintiff.
Plaintiff called the caller identification number 281-831-4741
and reached voice mail. Several minutes later Plaintiff
received a call again from caller identification number 281-
831-4741. The caller provided the address of 1323 North Main
Street, Pearland Texas which is the address of Defendant Air
Specialist. On information and belief the device used to call
Plaintiff’s cellular number and. landline number with caller
identification 281-831-4741 is a device that has the capability
to store telephone numbers and to dial such numbers without
human intervention.

The Defendant Air Specialist employee identified Defendant HIL
as the entity that Defendant Air Specialist had bought the lead
from. Further, the caller stated that: “l have already
contacted them 1 have sent them an email already that the lead
information was bogus and for them to give the money back they
charged my company to get your information.”

The caller admitted that he was employed by Defendant Air
Specialist. The caller also admitted: “We have had this service

for nine years and we call cell phones all the time and this

9 of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

28.

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Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 10 of 15

happens all the time and we just get a refund.” When asked if
that aroused any suspicion the caller replied: “lt’s a numbers
game.”
THE TCPA

The TCPA prohibits automatically dialed calls to cellular
telephone numbers without the prior express consent of the
called. party or an emergency purpose. See 47 U.S.C.
§227(b)(1)(A) and 47 CFR §64.1200(a)(1). Automatically dialed
calls to cellular telephone numbers made without prior express
consent of the called. party are an invasion. of the called
party’s privacy. Plaintiff’s privacy was invaded by the
automatically dialed calls Of the Defendants. Thus, Plaintiff
has suffered actual damages from the invasion of his privacy.
The employees of the Defendants have suggested they had consent
to make automatically dialed calls to Plaintiff’s cellular
telephone number. Assuming arguendo that someone other than the
Plaintiff may have submitted Plaintiff’s cellular telephone
number on some internet web site the fact remains that
Plaintiff never submitted his cellular telephone number on any
internet web site and thus there never was any “ prior express
consent of the called party/’ Id. As to buying leads prior
express consent cannot be sold or bought. Prior express consent

can only come from the called party.

10 of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 11 of 15

30. Defendants could have easily avoided violating the TCPA. by
manually dialing Plaintiff’s cell number. The Defendants did
not do so. Had Defendants manually dialed Plaintiff’s cellular
telephone number Defendants would have found out that the
Plaintiff had never submitted his cellular telephone number on
any internet web site. Thus, Defendants willfully and knowingly
used an automatic dialing device to initiate telephone calls to
the Plaintiff’s cellular telephone number a clear and
undisputable violation of the TCPA.

VIOLATIONS OF THE TCPA

 

Count 1

31. Plaintiff realleges and incorporates the allegations above as
though fully set forth herein. On or about August 8@, 2013 at
approximately 8:06 a.m. Defendant Sears initiated an
automatically dialed call to Plaintiff’s cellular telephone
number. The call was a 'typical predictive dialerl dead air
call. The call was recorded.

32. There was never any prior express consent from the Plaintiff
for anyone to initiate such automatically dialed call to

Plaintiff’s cellular telephone number. Thus the initiation of

 

1 The FCC, the federal agency tasked with interpreting the TCPA,
has stated in its orders that a predictive dialer is an
automatic dialing device i.e. a device that dials telephone
numbers without human intervention and thus falls squarely under
the TCPA definition of automatic telephone dialing device. Any
court addressing this issue has held the same as the FCC.

ll Of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

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Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 12 of 15

such automatically dialed call is a violation. of 47 U.S.C.
§227(b)(1)(A)(iii) and 47 CFR §64.1200(a)(1)(iii).
Count 11

Plaintiff realleges and incorporates the allegations above as
though fully set forth herein. On or about August 10UH 2013 at
approximately 9:01 a.m. Defendant Air Specialist initiated an
automatically dialed. call to Plaintiff’s cellular telephone
number. The call was recorded.

There was never any prior express consent from the Plaintiff
for anyone to initiate such automatically dialed call to
Plaintiff’s cellular telephone number. Thus the initiation of
such automatically dialed call is a violation of 47 U.S.C.
§227(b)(1)(A)(iii) and 47 CFR §64.1200(a)(1)(iii).

Count lll

Plaintiff realleges and incorporates the allegations above as
though fully set forth herein. On or about August 10wy 2013 at
approximately 11:38 a.m. Defendant Direct Energy initiated an
automatically dialed call to Plaintiff’s cellular telephone
number. The call was recorded.

There was never any prior express consent from the Plaintiff
for anyone to initiate such automatically dialed call to
Plaintiff’s cellular telephone number. Thus the initiation of
such. automatically dialed call is a violation of 47 U.S.C.

§227(b)(1)(A)(iii) and 47 CFR §64.1200(a)(l)(iii).

12 of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

 

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Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 13 of 15

Count IV

Plaintiff realleges and incorporates the allegations above as
though fully set forth herein. On or about August 14U§ 2013 at
approximately 11:51 a.m. Defendant HIL initiated an
automatically dialed call to Plaintiff’s cellular telephone
number. The call was recorded.

There was never any prior express consent from the Plaintiff
for anyone to initiate such automatically dialed call to
Plaintiff’s cellular telephone number. Thus the initiation of
such. automatically dialed. call is a violation of 47 U.S.C.
§227(b)(1)(A)(iii) and 47 CFR §64.1200(a)(1)(iii).

Count V

Plaintiff realleges and incorporates the allegations above as
though fully set forth herein. On or about August 19&, 2013 at
approximately 8:22 a.m. Defendant HIL initiated an
automatically dialed call to Plaintiff’s cellular telephone
number. The call was recorded.

There was never any prior express consent from the Plaintiff
for anyone to initiate such automatically dialed call to
Plaintiff’s cellular telephone number. Thus the initiation of
such. automatically dialed‘ call is a violation of 47 U.S.C.
§227(b)(1)(A)(iii) and 47 CFR §64.1200(a)(1)(iii).

APPLICABLE TO ALL COUNTS

 

13 of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

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Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 14 of 15

Plaintiff has suffered actual damages for the initiation. of
automatically dialed calls to his cellular telephone number.
The TCPA states that an individual may bring a civil action
against a person who violates the TCPA for actual or statutory
damages for each violation of the TCPA. See 47 U.S.C.
§227(b)(3). Consequently, Plaintiff hereby seeks statutory
damages of $500.00 for each violation of the TCPA. Thus,
Plaintiff seeks $500.00 for each count.

Plaintiff additionally alleges that the violations of the
TCPA committed by the Defendants were done willfully and/or
knowingly. Pursuant to 47 U.S.C. §227(b)(3) Plaintiff seeks
additional damages in an amount determined by the Court to be
equal to treble the amount found by the Court in accordance
with Paragraph 41 hereof.

PERMANENT INJUNCTIVE RELIEF

 

An injunction is a matter of law pursuant to 47 U.S.C.
§227(b)(3)(A) and 47 U.S.C. §227(c)(5)(A). Plaintiff and
members of the public will benefit from injunctive relief.

Plaintiff alleges that Defendants will continue to
irreparably harm Plaintiff and other members of the public by
initiating automatically dialed calls to Plaintiff’s and
other members of the public’s cellular telephone numbers
without prior express consent of the called party. Plaintiff

alleges that Defendant’s will continue the invasion of

14 Of 15
COMPLAINT F`OR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

Case 4:13-cV-02426 Document 1 Filed in TXSD on 08/19/13 Page 15 of 15

Plaintiff’s and members of the public privacy. Consequently,

Plaintiff, pursuant to 47 U.S.C. §227(b)(3)(A) and 47 U.S.C.

§227(c)(5)(A), seeks a permanent injunction barring the

Defendants from:

a.Initiating by or on their behalf, assisting, facilitating,
permitting or causing automatically dialed calls to the
cellular telephone numbers of members of the public
without lFt obtaining prior express consent of the called
party.

PRAYER FOR RELIEF

 

. WHEREFORE, premises considered, Plaintiff prays that the
Defendants be cited to appear and answer herein and that upon
trial hereof Plaintiff recover a judgment of and from the
Defendants equally and severally for his damages as allowed
by law, treble damages, as allowed by law, permanent
injunctive relief as allowed by law, all costs of court and
for all such other and further relief, at law and in equity,

to which Plaintiff may show himself justly entitled.

//
Joe Shields
Plaintiff Pro Per
16822 Stardale Lane

Friendswood, Texas 77546
Home: 281-482-7603

 

15 of 15
COMPLAINT FOR DAMAGES AND PERMANENT INJUNCTIVE RELIEF

 

